       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 1 of 70




                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

NEW GEORGIA PROJECT; et al.,
                    Plaintiffs,

       v.
                                            No. 1:21-cv-1229-JPB
Brad RAFFENSPERGER, in his
official capacity as the Georgia
Secretary of State; et al.,
                            Defendants,

REPUBLICAN NATIONAL
COMMITTEE; et al.,
           Intervenor-Defendants.

               NOTICE OF SUPPLEMENTAL AUTHORITY
      Intervenors have moved to dismiss, among other claims, Plaintiffs’ chal-

lenge to SB 202’s ban on gift giving. See Mot. (Doc.73-1) 17-20. Plaintiffs, rely-
ing heavily on the Eleventh Circuit’s decision in Food Not Bombs I, claimed

that giving food and water to voters is “expressive conduct.” Opp. (Doc. 75) 18-

21 (citing Ft. Lauderdale Food Not Bombs v. City of Ft. Lauderdale, 901 F.3d
1235 (11th Cir. 2018)). Plaintiffs then argued that the gift-giving ban is a con-
tent-based restriction that warrants strict scrutiny. Opp. 22-23. In response,

Intervenors argued that Food Not Bombs I says distributing food and water is
normally not expressive, and that it becomes expressive only in specific circum-
stances that Plaintiffs haven’t alleged. See Reply (Doc. 77) 9-11. Intervenors

also argued that the gift-giving ban is, at most, a content-neutral regulation

that receives intermediate scrutiny. See Reply 11-12.


                                        1
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 2 of 70




      The Eleventh Circuit’s recent decision in Food Not Bombs II confirms
that Intervenors were right. See Fort Lauderdale Food Not Bombs v. City of

Fort Lauderdale, --- F.4th ----, 2021 WL 3870708 (11th Cir. Aug. 31) (attached

as Exhibit A). Two holdings are particularly important.
      First, the Eleventh Circuit held that “most social-service food sharing

events will not be expressive.” Ex. A at 51 (emphasis added). The Court thus

reiterated that the plaintiffs could not bring a facial challenge, as most appli-

cations of the law regulated only nonexpressive conduct. Id. at 47 n.3. As it

explained in Food Not Bombs I, “food sharing” can be deemed “expressive con-

duct only after a close examination of the specific context.” Ex. A at 51; accord

Reply 9-10. That context is missing here. See Reply 10-11; Mot. 18-19.

      Second, the Eleventh Circuit held that the challenged law was content

neutral. See Ex. A at 50-56. The law banned more than just “food sharing

events”; it banned many other, nonexpressive forms of conduct. Id. at 51. Even

as to food sharing, the law’s regulations did “not depend on the content of the

message.” Id. It applied equally to people who shared food to send a political
message, a nutritional message, a message of gratitude, “and so on.” Id. at 51-

52. While the law “‘disproportionately’” affected groups who wanted to use food

to communicate a message, that side effect did not make the law content based.
Id. at 53. So too here. See Reply 12. Thus, even if SB 202’s gift-giving ban reg-

ulated expressive conduct, it would be content neutral and “subject only to in-

termediate scrutiny, not the more demanding requirements of strict scrutiny.”
Ex. A at 56.



                                       2
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 3 of 70




      While the Eleventh Circuit held that the law in Food Not Bombs II failed
intermediate scrutiny, it did so on grounds that have nothing to do with this

case. The Eleventh Circuit did not hold that the city lacked a sufficient interest

that could justify banning food sharing in public parks; it called that question
“difficult” and refused to decide it. Id. at 47-48 & 4. Instead, the Eleventh Cir-

cuit held only that the challenged law “imposes a permitting requirement with-

out implementing any standards to guide City officials’ discretion over whether

to grant a permit.” Id. at 57. Plaintiffs make no such argument here. Nor could

they, since the gift-giving ban is clear, objective, and easy to apply. See Reply

14.

      This Court should dismiss all challenges to SB 202’s gift-giving ban.

                                            Respectfully submitted,

      Dated: September 16, 2021             /s/ Tyler R. Green

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                                        3
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 4 of 70




                    CERTIFICATE OF COMPLIANCE
     I certify that this document complies with Local Rule 5.1(B) because it

uses 13-point Century Schoolbook.

                                         /s/ Tyler R. Green



                      CERTIFICATE OF SERVICE
     On September 16, 2021, I e-filed this document on ECF, which will serve

everyone requiring service.
                                         /s/ Tyler R. Green




                                     4
Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 5 of 70




         Exhibit A




                              1
      Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 6 of 70
       USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 1 of 65



                                                               [PUBLISH]



             IN THE UNITED STATES COURT OF APPEALS

                     FOR THE ELEVENTH CIRCUIT
                       ________________________

                               No. 19-13604
                         ________________________

                   D.C. Docket No. 0:15-cv-60185-WJZ



FORT LAUDERDALE FOOD NOT BOMBS,
NATHAN PIM,
JILLIAN PIM,
HAYLEE BECKER,
WILLIAM TOOLE,

                                              Plaintiffs - Appellants,

                                   versus

CITY OF FORT LAUDERDALE,

                                              Defendant - Appellee.

                         ________________________

                Appeal from the United States District Court
                    for the Southern District of Florida
                      ________________________

                             (August 31, 2021)

Before LAGOA, HULL, and MARCUS, Circuit Judges.

MARCUS, Circuit Judge:
        Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 7 of 70
         USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 2 of 65



      This case presents the second appellate skirmish in Fort Lauderdale Food

Not Bombs’s (“FLFNB”) challenge to Fort Lauderdale’s efforts to shut down the

practice of sharing food with the homeless in downtown Stranahan Park. FLFNB

hosts food-sharing events in order to communicate the group’s message that scarce

social resources are unjustly skewed towards military projects and away from

feeding the hungry. In Round One, a panel of this Court held FLFNB’s food

sharing to be expressive conduct protected by the First Amendment and remanded

the case to the district court to address whether the City’s regulations actually

violated the First Amendment. Now, in Round Two, we must decide whether Fort

Lauderdale Park Rule 2.2, which requires City permission for social service food-

sharing events in all Fort Lauderdale parks, can withstand First Amendment

scrutiny as applied to FLFNB’s demonstrations.

      It cannot. The Park Rule commits the regulation of FLFNB’s protected

expression to the standardless discretion of the City’s permitting officials. The

Park Rule bans social service food sharing in Stranahan Park unless authorized

pursuant to a written agreement with Fort Lauderdale (the “City”). That’s all the

rule says. It provides no guidance and in no way explains when, how, or why the

City will agree in writing. As applied to FLFNB’s protected expression, it violates

the First Amendment. It is neither narrowly drawn to further a substantial

government interest that is unrelated to the suppression of free expression, nor, as


                                           2
        Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 8 of 70
         USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 3 of 65



applied, does it amount to a reasonable time, place, and manner regulation on

expression in a public forum. Accordingly, we reverse the district court’s order

granting summary judgment in favor of the City and remand for further

proceedings consistent with this opinion.


                                            I.

                                         A.

      Fort Lauderdale Food Not Bombs is a nonprofit unincorporated association

affiliated with the international advocacy organization Food Not Bombs. FLFNB

advocates the message “that food is a human right, not a privilege, which society

has a responsibility to provide for all.” Fort Lauderdale Food Not Bombs v. City

of Fort Lauderdale, 901 F.3d 1235, 1238 (11th Cir. 2018) (“FLFNB I”).

      At the center of FLFNB’s efforts are its weekly food sharing events in Fort

Lauderdale’s downtown Stranahan Park. Stranahan Park “is known in the

community as a location where the homeless tend to congregate and, according to

FLFNB, ‘has traditionally been a battleground over the City’s attempts to reduce

the visibility of homelessness.’” Id. “At these events, FLFNB distributes

vegetarian or vegan food, free of charge, to anyone who chooses to participate.

FLFNB does not serve food as a charity, but rather to communicate its message

‘that [ ] society can end hunger and poverty if we redirect our collective resources

from the military and war . . . .’ Providing food in a visible public space, and

                                            3
        Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 9 of 70
         USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 4 of 65



partaking in meals that are shared with others, is an act of political solidarity meant

to convey the organization’s message.” Id.

       “FLFNB sets up a table underneath a gazebo in the park, distributes food,

and its members . . . eat together with all of the participants, many of whom are

homeless individuals residing in the downtown Fort Lauderdale area. FLFNB’s

set-up includes a banner with the name ‘Food Not Bombs’ and the organization’s

logo -- a fist holding a carrot -- and individuals associated with the organization

pass out literature during the event.” Id. This includes flyers to convey FLFNB’s

social-justice message that all who are hungry deserve food.


                                          B.
       Sometime before 2000, the City of Fort Lauderdale promulgated Park Rule

2.2:

       Parks shall be used for recreation and relaxation, ornament, light and
       air for the general public. Parks shall not be used for business or social
       service purposes unless authorized pursuant to a written agreement with
       City. As used herein, social services shall include, but not be limited
       to, the provision of food, clothing, shelter or medical care to persons in
       order to meet their physical needs.

Some years ago, Arnold Abbott, who led a program to feed the homeless on a

public Fort Lauderdale beach, obtained a state-court injunction against the Park

Rule on the ground that it violated Florida’s Religious Freedom Restoration Act,

Fla. Stat. § 761.03. (Abbott is not affiliated with FLFNB.) The injunction required

the City to either stop enforcing the Park Rule, designate an area in which Abbott
                                           4
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 10 of 70
         USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 5 of 65



could lawfully distribute food, or specify objective criteria for permitted food-

sharing locations. See Abbott v. City of Fort Lauderdale, 783 So. 2d 1213, 1215

(Fla. Dist. Ct. App. 2001).

      The City stopped enforcing the Park Rule until October 22, 2014, when it

enacted Ordinance C-14-42 to amend the Fort Lauderdale Uniform Land

Development Regulations (“ULDR”). The City enacted this ordinance at least in

part as an effort to bring itself into compliance with the state-court injunction so

that it could resume enforcement of the Park Rule. In the years leading up to the

enactment of Ordinance C-14-42, some citizens had complained about a series of

problems they believed to be associated with feeding the homeless in public

spaces, including safety risks, a lack of proper water and restroom facilities, and

the negative impact this conduct may have on surrounding communities. In

January 2014, the City Commission held a workshop on the “the homeless

population in the City of Fort Lauderdale,” where stakeholders debated public food

distribution and related issues.

      Ordinance C-14-42, as relevant here, (1) defines an Outdoor Food

Distribution Center as “[a]ny location or site temporarily used to furnish meals to

members of the public without cost or at a very low cost as a social service”; (2)

defines “social service[]” as “[a]ny service provided to the public to address public

welfare and health such as, but not limited to, the provision of food; hygiene care;


                                           5
        Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 11 of 70
          USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 6 of 65



group rehabilitative or recovery assistance, or any combination thereof;

rehabilitative or recovery programs utilizing counseling, self-help or other

treatment or assistance; and day shelter or any combination of same”; and (3)

requires a conditional use zoning permit for the operation of an Outdoor Food

Distribution Center in Stranahan Park. 1 The other city parks in Fort Lauderdale (of

which there are more than 90, City of Fort Lauderdale, City Parks,

https://www.fortlauderdale.gov/departments/parks-recreation/city-parks (last

visited June 29, 2021)) are zoned so that public food-sharing events are not

allowed at all, even by permit. Thus, the Ordinance prohibits social service food

distribution in most parks and does not provide for food sharing as of right in any

park.

        To obtain a conditional use permit, an individual or group must wind

through a lengthy process for receiving a zoning variance. This involves an initial

application to the Development Review Committee (which meets twice a month);

upon approval, a subsequent submission and presentation to the Planning and

Zoning Board (which meets once a month); and then a subsequent review by the


1
  Ordinance C-14-42 implemented these regulations of outdoor food distribution by adding new
provisions -- ULDR §§ 47-1B.31(B)(4), (C)(2)(c) -- and by making additions to ULDR §§ 47-
6.12; 47-6.13; 47-7.10; 47-8.10; 47-8.11; 47-8.12; 47-8.13; and 47-13.10. We refer to these
specific components of Ordinance C-14-42 -- those that regulate outdoor food distribution -- as
the “Ordinance.” Other provisions of Ordinance C-14-42 regulate other social services not
relevant to this case, such as providing addiction treatment centers. The constitutionality of the
other provisions of Ordinance C-14-42 is not before this Court.

                                                 6
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 12 of 70
         USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 7 of 65



City Commission. The City Commission has 30 days to decide whether to conduct

its own review of the application; if the City Commission does not, the application

is considered approved and returns to the Development Review Committee for a

check to make sure the final permit is the same as the plan the Zoning Board

approved. There is no deadline for a permit to issue, and the City’s zoning

administrator could not provide an average time for resolving applications.

Applicants must pay a fee for City staff time spent reviewing an application; the

fee can rise as high as $6,000, which the City may reduce in its unguided

discretion.

      Permitting requirements for outdoor food distribution include that the

proposed activities must not impose a nuisance or cause a change to the character

of the area, that the use be 500 feet away from similar uses and residential

property, that food be timely served and stored at safe temperatures, that a certified

food service manager attend the event, and that the site provide handwashing,

wastewater disposal, and restroom facilities.

      Soon after the Ordinance passed, the City began enforcing it along with the

Park Rule. Police officers interrupted and stopped an FLFNB demonstration in

Stranahan Park on November 7, 2014. On that day, the city arrested and cited

FLFNB members and other demonstrators for violating both the Ordinance and the

Park Rule. The City also issued citations to participants in FLFNB demonstrations


                                          7
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 13 of 70
         USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 8 of 65



on November 14 and November 21. FLFNB members Nathan Pim, Jillian Pim,

Haylee Becker, and William Toole were not personally arrested or cited, but were

present at each of these events and witnessed their co-demonstrators being arrested

and cited on November 7 and November 14. They did not directly witness any

arrests or citations at the November 21 event; police later delivered a citation to the

home of a participant in that demonstration.

      The City also enforced the Ordinance and the Park Rule against Abbott, who

moved the state court for an order to enforce its 2000 injunction and halt

enforcement. See Mot. to Enforce Inj., Abbott v. City of Fort Lauderdale, No. 99-

03583 (05), Dkt. No. 37 (Fla. Cir. Ct. Nov. 12, 2014). The Seventeenth Judicial

Circuit Court in Broward County issued a temporary stay on December 2, 2014,

and the City stopped enforcing the Ordinance along with the Park Rule. Even

though the state-court stay expired on January 1, 2015, the City voluntarily

continued its non-enforcement, and has not enforced the Ordinance or the Park

Rule since. FLFNB continues to hold weekly food-sharing demonstrations in

Stranahan Park.


                                          C.
      Soon after the state-court stay expired, on January 29, 2015, FLFNB and

members Nathan Pim, Jillian Pim, Haylee Becker, and William Toole (the

“Individual Plaintiffs,” and, together with FLFNB, the “Plaintiffs”) sued the City

                                           8
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 14 of 70
         USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 9 of 65



in the United States District Court for the Southern District of Florida pursuant to

42 U.S.C. § 1983. They alleged that the Ordinance and the Park Rule violated

their First Amendment rights to free expression and expressive association, and

that these regulations were unconstitutionally vague, both facially and as applied.

The Plaintiffs sought declaratory and injunctive relief as well as compensatory

damages.

      After discovery, the parties cross-moved for summary judgment. The

district court granted the City’s motion on all claims, holding that FLFNB’s food-

sharing was not expressive conduct entitled to First Amendment protection. Fort

Lauderdale Food Not Bombs v. City of Fort Lauderdale, No. 15-60185-CIV, 2016

WL 11700270, at *9 (S.D. Fla. Sept. 30, 2016). In an analysis heavily influenced

by its initial holding that FLFNB was not engaged in expressive conduct, the

district court concluded that the Ordinance and the Park Rule did not infringe on

the Plaintiffs’ rights to expressive association. Id. Finally, the district court held

that the Ordinance and the Park Rule were not unconstitutionally vague. The court

acknowledged that this holding was also influenced by its conclusion that FLFNB

was not engaged in expressive conduct. Id. at *10.

      The Plaintiffs appealed the trial court’s judgment to this Court. On

November 7, 2017, while the appeal was pending, the City repealed the Ordinance




                                           9
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 15 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 10 of 65



insofar as it regulated outdoor food distribution. However, Fort Lauderdale did not

repeal the Park Rule, which remains on the books.

      In Round One, a panel of this Court reversed the district court’s summary

judgment order. FLFNB I, 901 F.3d at 1245. We applied the two-part inquiry

drawn from Spence v. Washington, 418 U.S. 405, 410–411 (1974), and held that

FLFNB’s demonstrations were expressive conduct protected by the First

Amendment. FLFNB I, 901 F.3d at 1240–43. First, the panel had little difficulty

concluding that FLFNB “inten[ded] to convey a particularized message” with its

food sharing events. Id. at 1240 (quoting Spence, 418 U.S. at 410–411). FLFNB

shared food in order “to convey that all persons are equal, regardless of socio-

economic status, and that everyone should have access to food as a human right.”

Id. at 1240–41.

      Next, the panel closely examined the circumstances surrounding FLFNB’s

food sharing in order to apply the second part of the Spence inquiry -- whether a

“reasonable person would interpret FLFNB’s food sharing events ‘as some sort of

message.’” Id. at 1242 (quoting Holloman ex rel. Holloman v. Harland, 370 F.3d

1252, 1270 (11th Cir. 2004)). We held that five circumstances surrounding

FLFNB’s events would lead a reasonable observer to discern a message. First,

FLFNB wasn’t just a group of acquaintances eating together in a park -- it adorned

its events with tables and banners and distributed literature explaining its political


                                          10
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 16 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 11 of 65



message. Second, the events had “social implications” because they were open to

all comers. Id. Third, FLFNB held its food sharings “in Stranahan Park, a public

park near city government buildings.” Id. Public parks, the panel noted, are

“historically associated with the exercise of First Amendment rights.” Id. (citation

omitted). Fourth, treatment of the homeless was an issue of substantial public

concern and discussion in the Fort Lauderdale community. Indeed, the City had

held a public workshop on the issue, and local media had covered “the status of the

City’s homeless population” for years. Id. Fifth, the sharing of food with others in

order to communicate a message was a tradition that “date[d] back millennia.” Id.

at 1243. All of these circumstances combined to “put[] FLFNB’s food sharing

events on the expressive side of the ledger.” Id. at 1242.

      Since each of the district court’s merits holdings had turned in substantial

part on its erroneous conclusion about expressive conduct, the panel remanded the

case for the district court to reconsider these issues as well as to address in the first

instance whether the Ordinance and the Park Rule violated the First Amendment.

Id. at 1245 & n.2.

      On remand, the district court took supplemental briefing, including on the

effect of the repeal of the Ordinance. For a second time, the district court entered

summary judgment in favor of the City. The court held that the Plaintiffs had

standing based on the City’s disruption of their events, and that FLFNB was a


                                           11
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 17 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 12 of 65



“person” with a cause of action under 42 U.S.C. § 1983. The court noted that

while the repeal of the Ordinance mooted the Plaintiffs’ claims for declaratory and

injunctive relief against the Ordinance, the court still had to rule on its

constitutionality because the Plaintiffs also sought compensatory damages. Next,

the district court held that even accepting FLFNB I’s binding holding that the

Ordinance and the Park Rule interfered with the Plaintiffs’ expressive conduct,

both regulations passed First Amendment muster as lawful, content-neutral time,

place, and manner regulations.

      As for the Plaintiffs’ claims that the Ordinance and the Park Rule’s

permitting requirements acted as a prior restraint by giving City officials unguided

discretion to block their expression, the district court observed that the regime was

“somewhat suspect.” After all, Fort Lauderdale’s officials could charge as much

as $6,000 for the permitting process but could reduce that amount in any way if

they “fe[lt]” it appropriate. Meanwhile, the Park Rule did not provide any

standards to guide the exercise of discretion in determining whether to provide

City permission to share food in the park. Even so, the district court concluded

that the permitting schemes were not subject to either as-applied or facial

challenges, because the Plaintiffs never applied for a permit and because the

regulations were “laws . . . of general application” that did not directly regulate

protected expression. The district court also rejected the Plaintiffs’ expressive


                                           12
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 18 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 13 of 65



association arguments, reasoning that the regulations “impose a content-neutral

restriction on a kind of expressive conduct that is only incidentally associative.”

Finally, the trial court held that the terms found in the Ordinance and in the Park

Rule, such as “social service,” were not unconstitutionally vague.

      Again, the Plaintiffs timely appealed to this Court.
                                          II.

      Before we can consider the merits of the Plaintiffs’ claims, we are required

to address three threshold matters. As for the first one, we conclude that FLFNB is

a “person” and therefore a proper plaintiff under § 1983 of Title 42. Second, as for

the City’s Ordinance, the Plaintiffs’ claims for injunctive and declaratory relief are

moot; however, their monetary damages claims arising out of the enforcement of

the Ordinance are not. Finally, all of the Plaintiffs have standing to bring their

remaining claims. Our review on each of these issues is de novo. See Hoever v.

Marks, 993 F.3d 1353, 1357 (11th Cir. 2021); Taylor v. Polhill, 964 F.3d 975, 980

(11th Cir. 2020); Coral Springs St. Sys., Inc. v. City of Sunrise, 371 F.3d 1320,

1328 (11th Cir. 2004).


                                          A.

      First, the City argues that FLFNB, as an unincorporated association, is not a

“person” that may bring suit under § 1983, which provides in relevant part:

      Every person who, under color of any statute, ordinance, regulation,
      custom, or usage, of any State or Territory or the District of Columbia,
                                          13
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 19 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 14 of 65



      subjects, or causes to be subjected, any citizen of the United States or
      other person within the jurisdiction thereof to the deprivation of any
      rights, privileges, or immunities secured by the Constitution and laws,
      shall be liable to the party injured in an action at law, suit in equity, or
      other proper proceeding for redress, except that in any action brought
      against a judicial officer for an act or omission taken in such officer’s
      judicial capacity, injunctive relief shall not be granted unless a
      declaratory decree was violated or declaratory relief was unavailable.

42 U.S.C. § 1983 (emphasis added). There is some historical support for the City’s

reading, but this view stands in tension with the text’s ordinary meaning, Supreme

Court precedent, successive amendments to § 1983, and longstanding, settled

practice. Absent clear direction from the Supreme Court, we decline the City’s

invitation to bar all unincorporated associations (other than unions) from being

able to sue under § 1983.

      “As with any statutory interpretation question, our analysis ‘must begin, and

usually ends, with the text of the statute.’” United States v. Stevens, 997 F.3d

1307, 1314 (11th Cir. 2021) (citation omitted). When examining the phrase “any

citizen of the United States or other person,” “person” must refer to something

beyond individuals who are United States citizens; otherwise, the term would be

redundant. See, e.g., Corley v. United States, 556 U.S. 303, 314 (2009) (noting

that “one of the most basic interpretive canons” is “that ‘[a] statute should be

construed so that effect is given to all its provisions, so that no part will be

inoperative or superfluous, void or insignificant’”) (citation omitted and alteration

accepted). At the very least, the phrase extends a § 1983 cause of action to non-

                                           14
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 20 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 15 of 65



citizen individuals. Congress enacted Section 1 of the Civil Rights Act of 1871

(also known as the Ku Klux Klan Act), the original version of what is now § 1983,

in order to enforce the Fourteenth Amendment. See, e.g., Ngiraingas v. Sanchez,

495 U.S. 182, 187 (1990). The word “person” in the Fourteenth Amendment

includes not only citizens but also non-citizens within the United States. E.g.,

Graham v. Richardson, 403 U.S. 365, 371 (1971); see also Hague v. Comm. for

Indus. Org., 307 U.S. 496, 526 (1939) (opinion of Stone, J.) (“It will be observed

that the cause of action, given by [Section 1 of the 1871 Civil Rights Act], extends

broadly to . . . those rights secured to persons, whether citizens of the United States

or not, to whom the [Fourteenth] Amendment in terms extends the benefit of the

due process and equal protection clauses.”). We also know that the word “person”

in § 1983 extends to corporations, both municipal and otherwise. See Monell v.

Dep’t of Soc. Servs., 436 U.S. 658, 687, 690 (1978). Indeed, in Monell, the

Supreme Court observed that “by 1871, it was well understood that corporations

should be treated as natural persons for virtually all purposes of constitutional and

statutory analysis.” Id. at 687.

      However, the Supreme Court has also ruled that Native American Tribes

seeking to vindicate sovereign rights, States, State officers acting in their official

capacities, Territories, and Territory officers acting in their official capacities are

not “persons.” Inyo Cnty. v. Paiute-Shoshone Indians of the Bishop Cmty. of the


                                           15
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 21 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 16 of 65



Bishop Colony, 538 U.S. 701, 712 (2003) (reasoning that § 1983 “was designed to

secure private rights against government encroachment” to reach this conclusion in

the case of a Tribe suing to vindicate its right to sovereign immunity from state

process); Ngiraingas, 495 U.S. at 187–92 (examining historical sources and the

context surrounding amendments to § 1983 to reach this conclusion with respect to

Territories and their officers); Will v. Mich. Dep’t of State Police, 491 U.S. 58,

64–67 (1989) (relying on federalism concerns, the Eleventh Amendment, and the

“often-expressed understanding that ‘in common usage, the term ‘person’ does not

include the sovereign, and statutes employing the word are ordinarily construed to

exclude it’” to reach this conclusion regarding States and their officials)

(alterations accepted and citation omitted). Monell, Ngiraingas, and Will each

interpreted the first use of the word “person” in § 1983, which relates to which

entities may be proper § 1983 defendants -- “[e]very person” who under color of

law causes a deprivation of federal rights shall be liable to the party injured. By

contrast, today we interpret § 1983’s second use of the word “person” -- “any

citizen or other person” -- a phrase that delineates which entities may be proper §

1983 plaintiffs. But these cases are nonetheless instructive, because we “generally

presume that ‘identical words used in different parts of the same act are intended to

have the same meaning.’” United States v. Cleveland Indians Baseball Co., 532

U.S. 200, 213 (2001) (citation omitted).


                                           16
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 22 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 17 of 65



      In order to decide whether FLFNB has a cause of action in this case, we

must determine whether “other persons,” in addition to including non-citizen

individuals and corporate entities, extends to unincorporated associations. The

words “other person,” by themselves, do not definitively answer the question. Cf.

Ngiraingas, 495 U.S. at 187 (“[Section 1983] itself obviously affords no clue as to

whether its word ‘person’ includes a Territory.”). Unlike sovereign entities, there

is no presumption that unincorporated associations are not persons. To the

contrary, the ordinary meaning of “person” in legal contexts includes

unincorporated associations. See Antonin Scalia & Bryan A. Garner, Reading

Law: The Interpretation of Legal Texts 273 (2012) (“Traditionally the word person

. . . denotes not only natural persons (human beings) but also artificial persons such

as corporations, partnerships, associations, and both public and private

organizations.”) (second emphasis added). Thus, the most natural reading of §

1983 extends a cause of action to unincorporated associations.

      On the other hand, we “normally interpret[] a statute in accord with the

ordinary public meaning of its terms at the time of its enactment.” Bostock v.

Clayton Cnty., 140 S. Ct. 1731, 1738 (2020). And in 1871, unincorporated

associations were not legal persons with the capacity to sue or be sued absent some

express authorization. United Mine Workers of Am. v. Coronado Coal Co., 259

U.S. 344, 385 (1922) (“Undoubtedly at common law an unincorporated association


                                         17
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 23 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 18 of 65



of persons was not recognized as having any other character than a partnership in

whatever was done, and it could only sue or be sued in the names of its members,

and their liability had to be enforced against each member.”); Wesley A. Sturges,

Unincorporated Associations as Parties to Actions, 33 Yale L.J. 383, 383 (1924)

(citing authorities dating as far back as 1884 to observe that “[t]he cases are

remarkably in accord that, in the absence of enabling statute, an unincorporated

association cannot sue or be sued in the common or association name”).

      Moreover, reading the word “person” to exclude unincorporated associations

is fully consonant with the 1871 version of the Dictionary Act, which expressly

limited “person” to “bodies politic and corporate.” See, e.g., Will, 491 U.S. at 69

n.8. The Dictionary Act -- a statute that provides general definitions for common

terms used across the United States Code, see 1 U.S.C. § 1 -- did not expand to

include “associations” until 1948. See Act of June 25, 1948, Pub. L. No. 80-772, §

6, 62 Stat. 683, 859 (1948); Lippoldt v. Cole, 468 F.3d 1204, 1214 (10th Cir.

2006). The 1871 Dictionary Act definition matches the definition of “person”

found in the first edition of Black’s Law Dictionary, published in 1891, which

confirms that an entity needed some express authorization in positive law to

achieve legal personhood. Person, Black’s Law Dictionary (1891) (“Persons are

divided by law into natural and artificial. Natural persons are such as the God of

nature formed us; artificial are such as are created and devised by human laws, for


                                          18
        Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 24 of 70
         USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 19 of 65



the purposes of society and government, which are called ‘corporations’ or ‘bodies

politic.’”).

       What’s more, the legislative history surrounding the adoption of the 1871

Civil Rights Act does not suggest any departure from the established legal meaning

of “person” as it related to the capacity to sue in 1871. See Monell, 436 U.S. at

690 (analyzing the legislative history of Section 1 to interpret § 1983). The

drafters of Section 1 of the 1871 Civil Rights Act likely did not contemplate that

unincorporated associations were “persons” under the Act. The Republican

sponsors of the Civil Rights Act were aghast at reports of widespread vigilante

violence against federal officials, northern transplants, Blacks, and Republicans in

the post-war South. These attacks, they believed, were the work of recalcitrant

Confederates, including individuals organized as the Ku Klux Klan, who faced

only weak opposition from ineffectual state officials. See, e.g., Cong. Globe, 42d

Cong., 1st Sess., 320 (1871) (hereinafter “Globe”) (Rep. Stoughton) (“There exists

at this time in the southern States a treasonable conspiracy against the lives,

persons, and property of Union citizens, less formidable it may be, but not less

dangerous, to American liberty than that which inaugurated the horrors of the

rebellion.”); id. at 820 (Sen. Sherman) (observing that the bill was based on the

fact that “an organized conspiracy, spreading terror and violence, murdering and

scourging both white and black, both women and men, and pervading large


                                          19
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 25 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 20 of 65



communities of this country, now exists unchecked by punishment, independent of

law, uncontrolled by magistrates” and that “of all the multitude of injuries not in a

single case has redress ever been meted out to one of the multitude who has been

injured”).

      Section 1 itself “was the subject of only limited debate and was passed

without amendment.” Monell, 436 U.S. at 665. At most, read together with

statements about the 1871 Act generally, floor discussions of Section 1 suggest that

both proponents and opponents of the 1871 Act believed that the typical plaintiff

would be an individual who suffered a violation of constitutional rights, especially

the denial of the equal protection of the laws at the hands of state officials. Thus,

for example, proponent Senator Dawes spoke of “citizen[s]” who suffered

violations of their rights -- phrasing that implies a concern for the individual

plaintiff. Globe at 477 (“I conclude . . . [that] Congress has power to legislate for

the protection of every American citizen in the full, free, and undisturbed

enjoyment of every right, privilege, or immunity secured to him by the

Constitution; and that this may be done . . . [b]y giving him a civil remedy in the

United States courts for any damage sustained in that regard.”). For their part,

Democrats who opposed the passage of Section 1 generally claimed that it was too

broad, but notably did not argue that the word “person” did anything to expand the

range of entities that could traditionally sue. They, too, seemed to envision


                                          20
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 26 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 21 of 65



individual plaintiffs. E.g., id. at 337 (Rep. Whithorne) (complaining that “any

person within the limits of the United States who conceives that he has been

deprived of any right, privilege, or immunity secured him by the Constitution”

would be able to sue and conjuring the hypothetical example of a drunk suing a

police officer who had confiscated his pistol).

      All told, historical context suggests that the word “person” as used in

Section 1 of the 1871 Civil Rights Act did not extend to unincorporated

associations. But this does not end the analysis, because we are not interpreting

Section 1 of the 1871 Civil Rights Act. Instead, we must apply § 1983 of Title 42

of the United States Code as it exists today, that is, as thrice amended since its

initial enactment in 1871. We must therefore account for any changes in the legal

meaning of “person” that may have informed Congress’s decision to perpetuate

that term across amended versions of § 1983. Indeed, the Supreme Court in

Ngiraingas looked not only to the history of the 1871 Civil Rights Act but also to

“the successive enactments of [§ 1983], in context” -- and to changes to the

definition of “person” in the Dictionary Act -- in order to interpret the word

“person.” 495 U.S. at 189, 191 n.10.

      Congress amended the text of § 1983 twice after the 1948 amendment to the

Dictionary Act -- which made clear that “person” in “any Act of Congress”

includes “associations” and “societies” in addition to “corporations,” “companies,”


                                          21
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 27 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 22 of 65



“firms,” “partnerships,” “joint stock companies,” and “individuals.” See 62 Stat. at

859; 1 U.S.C. § 1. A congressional amendment in 1979 extended § 1983’s

coverage to injuries inflicted by those acting under the color of District of

Columbia law; a 1996 amendment limited the availability of injunctive relief

against judicial defendants. See Act of December 29, 1979, Pub. L. No. 96-170,

93 Stat. 1284 (1979); Federal Courts Improvement Act of 1996, Pub. L. No. 104-

317, 110 Stat. 3847 (1996). In neither re-enacted version of § 1983 did Congress

narrow the definition of “person” in light of the intervening clarification in the

Dictionary Act that associations are “persons” as that term is used in federal

statutes. Cf. United States v. Bryant, 996 F.3d 1243, 1258 (11th Cir. 2021)

(“[W]hen interpreting statutes, what Congress chose not to change can be as

important as what it chose to change.”).

      Similarly, Congress enacted both of these amendments after the 1937

promulgation of Federal Rule of Civil Procedure 17(b), which provided “that a

partnership or other unincorporated association, which has no such capacity by the

law of such state, may sue or be sued in its common name for the purpose of

enforcing for or against it a substantive right existing under the Constitution or law

of the United States.” Parties, 1937 Rep. Advisory Comm. on Civ. Rules 47

(1937); see also Fed. R. Civ. P. 17(b)(3) (the Rule’s current text remains nearly

identical to that of the original version); Centro De La Comunidad Hispana De


                                           22
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 28 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 23 of 65



Locust Valley v. Town of Oyster Bay, 954 F. Supp. 2d 127, 137 (E.D.N.Y. 2013)

(relying on Rule 17(b)(3) to conclude that “an unincorporated association[] ha[d]

legal capacity to bring [a § 1983] suit because all of its claims allege[d] violations

of the United States Constitution”), aff’d, 868 F.3d 104 (2d Cir. 2017), and aff’d,

705 F. App’x 10 (2d Cir. 2017); Playboy Enters., Inc. v. Pub. Serv. Comm’n of

P.R., 698 F. Supp. 401, 413–14 (D.P.R. 1988) (similar analysis regarding the

unincorporated Puerto Rico Cable Television association), aff’d as modified on

other grounds, 906 F.2d 25 (1st Cir. 1990).

      And perhaps most significantly, the Supreme Court held in 1974 that an

unincorporated union could “sue under 42 U.S.C. § 1983 as [a] person[] deprived

of [its] rights secured by the Constitution and laws.” Allee v. Medrano, 416 U.S.

802, 819 n.13 (1974). Thus, by the time of the 1979 and 1996 amendments to §

1983, federal law made it quite clear that unincorporated associations were

“persons” that could sue to enforce constitutional rights under § 1983. It is telling

that against this backdrop, Congress did not choose to restrict the scope of the term

“person” when it re-enacted amended versions of § 1983. See Pollitzer v.

Gebhardt, 860 F.3d 1334, 1340 (11th Cir. 2017) (“Congress is presumed to be

aware of an administrative or judicial interpretation of a statute and to adopt that

interpretation when it re-enacts a statute without change.”) (emphasis added)

(quoting Lorillard v. Pons, 434 U.S. 575, 580 (1978)); Fajardo v. U.S. Att’y Gen.,


                                          23
        Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 29 of 70
         USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 24 of 65



659 F.3d 1303, 1310 (11th Cir. 2011) (“Where words are employed in a statute

which had at the time a well-known meaning at common law or in the law of this

country they are presumed to have been used in that sense unless the context

compels to the contrary.”) (emphasis added) (quoting Lorillard, 434 U.S. at 583);

Scalia & Garner, supra, at 322 (“The clearest application of the prior-construction

canon occurs with reenactments: If a word or phrase has been authoritatively

interpreted by the highest court in a jurisdiction . . . a later version of that act

perpetuating the wording is presumed to carry forward that interpretation.”).

Whatever “person” meant in 1871, its meaning included unincorporated

associations by the time Congress “perpetuated” the word “person” in new

versions of § 1983 in 1979 and 1996. See Scalia & Garner, supra, at 322.

       Even setting these textual and historical considerations aside, Allee suggests

that an unincorporated entity like FLFNB, just like the unincorporated union in that

case, is a “person” for § 1983 purposes. In Allee, individual organizers and a

union brought a § 1983 action against Texas officials on behalf of a class of union

members, alleging that law enforcement had threatened and harassed them for

engaging in union organizing activities, including by bringing criminal charges in

bad faith. 416 U.S. at 804–09. A question arose as to whether there were pending

state prosecutions against any of the plaintiffs -- if not, the plaintiffs’ request for

injunctive relief would be partially moot. Id. at 818. The Supreme Court


                                            24
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 30 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 25 of 65



instructed that on remand, if there were indeed pending prosecutions against the

unnamed class members, the district court “must find that the class was properly

represented” by the named plaintiffs in part because the named-plaintiff union was

a “person[]” that could sue under § 1983 and that had standing to complain of the

unlawful intimidation of its members. Id. at 819 n.13; see also id. at 831 (Burger,

C.J., concurring in the result in part and dissenting in part) (acknowledging that the

union plaintiff was unincorporated).

      In holding that “[u]nions may sue under 42 U.S.C. § 1983 as persons,” the

Court in Allee did not rest on any distinctive features of unions or suggest that

unions should be treated differently than any other kinds of unincorporated

associations. Id. at 819 n.13. The Court might have relied on, but did not so much

as mention, characteristics surrounding unions that other types of unincorporated

associations may not share, such as their affirmative recognition and privileges in

federal and state law. See Coronado Coal Co., 259 U.S. at 385–90. Instead, the

Court concluded, without limiting its reasoning, that unincorporated unions were §

1983 “persons.” The understanding of the meaning of the term “person” at the

time the Civil Rights Act was passed in 1871 presented no obstacle to the result the

Supreme Court reached in Allee. A union was neither an individual nor a

corporation, yet the Supreme Court held that it still fell within the ambit of the

term “other person.”


                                          25
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 31 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 26 of 65



      In keeping with a broad reading of Allee, most federal courts to have

confronted the question of whether a non-union unincorporated association is a

“person” under § 1983 have answered in the affirmative. In Barrett v. United

States, the Second Circuit reasoned that an estate administratrix could bring a §

1983 suit on behalf of the estate beneficiaries because they were a group of

individuals “associated for a special purpose.” 689 F.2d 324, 333 (2d Cir. 1982)

(“Unions and unincorporated associations have also been found to possess standing

to assert a § 1983 claim.”). The Second Circuit weighed in again in Jund v. Town

of Hempstead, this time to hold that unincorporated local Republican committees

were proper § 1983 defendants. 941 F.2d 1271, 1279–80 (2d Cir. 1991). And at

least two district courts have adopted this reading. In Gay-Straight All. of

Okeechobee High Sch. v. Sch. Bd. of Okeechobee Cnty., a court in the Southern

District of Florida held that an “unincorporated, voluntary association of students”

at a Florida high school was a § 1983 “person.” 477 F. Supp. 2d 1246, 1248,

1249–51 (S.D. Fla. 2007). A court in the Northern District of Illinois similarly

held that an unincorporated organization representing the interests of a public

housing development could bring a § 1983 suit and noted that “[u]nincorporated

organizations have been found to be ‘persons’ entitled to bring suit under § 1983.”

Cabrini-Green Loc. Advisory Council v. Chi. Hous. Auth., No. 04 C 3792, 2005

WL 61467, at *3 (N.D. Ill. Jan. 10, 2005).


                                         26
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 32 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 27 of 65



      Moreover, there is a longstanding and robust practice of treating

unincorporated associations as proper § 1983 plaintiffs as a matter of course. The

Eleventh Circuit and an array of other courts have evaluated § 1983 claims brought

by all manner of unincorporated associations seeking to vindicate a diverse array

of constitutional interests -- including the Orlando and Santa Monica local Food

Not Bombs chapters -- without even hinting that they lacked a § 1983 cause of

action. See, e.g., First Vagabonds Church of God v. City of Orlando, 638 F.3d

756, 758 (11th Cir. 2011) (en banc) (Orlando Food Not Bombs); Santa Monica

Food Not Bombs v. City of Santa Monica, 450 F.3d 1022, 1031 (9th Cir. 2006)

(Santa Monica Food Not Bombs); Rounds v. Or. State Bd. of Higher Educ., 166

F.3d 1032, 1034 (9th Cir. 1999) (Students for Legal government, an

unincorporated association of University of Oregon students); Citizens Against

Tax Waste v. Westerville City Sch., 985 F.2d 255, 256–57 (6th Cir. 1993)

(Citizens Against Tax Waste, an “unincorporated association of property owners in

the Westerville City School District”); Marcavage v. City of New York, 918 F.

Supp. 2d 266, 267 (S.D.N.Y. 2013) (Repent America, an unincorporated

association dedicated to Christian evangelism); Occupy Fresno v. Cnty. of Fresno,

835 F. Supp. 2d 849, 853 (E.D. Cal. 2011) (Occupy Fresno, an unincorporated

association of individuals who wished to assemble in a park); Good News Emp.

Ass’n v. Hicks, No. C-03-3542 VRW, 2005 WL 351743, at *1 (N.D. Cal. Feb. 14,


                                        27
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 33 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 28 of 65



2005), aff’d, 223 F. App’x 734 (9th Cir. 2007) (unincorporated association

organized to promote a faith-based concept of “Natural Family and Marriage”);

Nat’l Ass’n of Alzheimer’s Victims & Friends v. Pa. Dep’t of Pub. Welfare, No.

CIV.A. 88-2426, 1988 WL 29338, at *1 (E.D. Pa. Mar. 23, 1988) (National

Association of Alzheimer’s Victims & Friends, an “unincorporated association

founded for the purpose of providing a mutual care and support group for persons

suffering from Alzheimer’s disease and their families and concerned friends”);

Republican Coll. Council of Pa. v. Winner, 357 F. Supp. 739, 740 (E.D. Pa. 1973)

(Republican College Council of Pennsylvania). The same is true of a historically

significant set of § 1983 plaintiffs, the unincorporated local chapters of the

NAACP. See N.A.A.C.P. v. Brackett, 130 F. App’x 648 (4th Cir. 2005).

       This body of practice is not a body of holdings and, of course, cannot alter

the meaning of the word “person” as used in the statute. But when combined with

the ordinary meaning of the text, Allee, persuasive interpretations from other

courts, and the body of law informing Congress’s amendments to § 1983 -- all of

which indicate that unincorporated associations are “persons” -- it at least

underscores the need for compelling evidence before we adopt the City’s contrary

interpretation. See Nasrallah v. Barr, 140 S. Ct. 1683, 1697–98, (2020) (Thomas,

J., dissenting) (protesting that when “presented with two competing statutory

interpretations[,] one of which ma[de] sense of” the statute “without upending


                                          28
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 34 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 29 of 65



settled practice, and one of which significantly undermine[d the statute] by

removing a vast swath of claims from its reach,” the Supreme Court majority

should have “justif[ied]” its choice of the latter interpretation and “candidly

confront[ed] its implications”); Fowler v. U.S. Parole Comm’n, 94 F.3d 835, 840

(3d Cir. 1996) (While “a practice bottomed upon an erroneous interpretation of the

law is not legitimized merely by repetition,” “general acceptance of a practice must

be considered in any reasoned [statutory interpretation] analysis.”).

      The Tenth Circuit, which holds that unincorporated associations cannot sue

under § 1983, stands alone against the trend of treating unincorporated associations

as “persons.” See Lippoldt, 468 F.3d at 1216 (holding that Operation Save

America, an unincorporated association devoted to anti-abortion advocacy, was not

a “person” within the meaning of § 1983); see also Tate v. Univ. Med. Ctr. of So.

Nev., No. 2:09-CV-01748-LDG (NJK), 2013 WL 1249590, at *11 (D. Nev. Mar.

26, 2013) (stating, in a single sentence devoid of analysis, that an unincorporated

association was not a “person” subject to suit under § 1983), rev’d on other

grounds, 617 F. App’x 724 (9th Cir. 2015). The Tenth Circuit’s otherwise

thorough discussion of the legislative history of the 1871 Civil Rights Act, the

background law in 1871, and the 1871 Dictionary Act did not account for the fact

that Congress re-enacted the word “person” in § 1983 twice after intervening




                                          29
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 35 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 30 of 65



developments in federal law clarified that unincorporated associations were

“persons.”

      At bottom, in enacting § 1983, Congress “intended to give a broad remedy

for violations of federally protected civil rights.” Monell, 436 U.S. at 685. And

the Supreme Court has instructed us that “Congress intended § [1983] to be

broadly construed.” Id. at 686. “[A]ny plan to restrict the scope of § 1983 comes

with a heavy burden of justification -- a burden that is both constitutional and

historical.” Harry A. Blackmun, Section 1983 and Federal Protection of Individual

Rights — Will the Statute Remain Alive or Fade Away?, 60 N.Y.U. L. Rev. 1, 28

(1985). Absent some indication from the Supreme Court that unincorporated

associations are not “persons,” we decline the City’s invitation to upset

longstanding practice recognizing that unincorporated associations are “persons”

that may sue under § 1983. See id. at 3 (warning “that any restriction of what has

become a major symbol of federal protection of basic rights [should] not be made

in irresponsible haste” and that absent strong historical evidence, the scope and

“underlying principles of § 1983 liability should be secure”). We hold that FLFNB

is a person that may bring suit under § 1983.


                                         B.

      The second threshold question, also prefatory to an analysis of the merits,

concerns the principle of mootness. The Plaintiffs seek declaratory, injunctive, and

                                          30
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 36 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 31 of 65



damages relief as to both the Ordinance and the Park Rule. But well after the

commencement of this litigation, the City repealed the challenged Ordinance. The

Park Rule remains in effect, so the Ordinance’s repeal does not affect the

Plaintiffs’ claims for declaratory, injunctive, and damages relief concerning the

Park Rule. Likewise, the Plaintiffs’ claims for monetary damages arising out of

the application of the Ordinance while it was still on the books remain viable

notwithstanding its subsequent repeal. See, e.g., Checker Cab Operators, Inc. v.

Miami-Dade Cnty., 899 F.3d 908, 916 (11th Cir. 2018) (“Although a case will

normally become moot when a subsequent [law] brings the existing controversy to

an end, when the plaintiff has requested damages, those claims are not moot.”)

(alteration in original) (citation omitted). However, the repeal mooted the

Plaintiffs’ claims for declaratory and injunctive relief against the Ordinance.

      “Plainly, if a suit is moot, it cannot present an Article III case or controversy

and the federal courts lack subject matter jurisdiction to entertain it.” Coral

Springs, 371 F.3d at 1328. “Generally, a challenge to the constitutionality of a

statute is mooted by repeal of the statute,” but an exception “applies if there is a

substantial likelihood that the challenged statutory language will be reenacted.” Id.

at 1329. The Plaintiffs have failed to meet their burden of proving that this

exception applies. See Flanigan’s Enters., Inc. of Ga. v. City of Sandy Springs,

868 F.3d 1248, 1256 (11th Cir. 2017) (en banc) (“[O]nce the repeal of an


                                          31
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 37 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 32 of 65



ordinance has caused our jurisdiction to be questioned, [the plaintiff] bears the

burden of presenting affirmative evidence that its challenge is no longer moot.”)

(alteration in original) (citation omitted).

       “The key inquiry. . . is whether the evidence leads us to a reasonable

expectation that the City will reverse course and reenact the allegedly offensive

portion of its Code should this Court” conclude the case is moot. Id.; Coral

Springs, 371 F.3d at 1331 (“Whether the repeal of a law will lead to a finding that

the challenge to the law is moot depends most significantly on whether the court is

sufficiently convinced that the repealed law will not be brought back.”). The

Plaintiffs must present “concrete evidence,” rather than “mere speculation,” that

the City will return to its old ways. Nat’l Advert. Co. v. City of Miami, 402 F.3d

1329, 1334 (11th Cir. 2005).

      “[T]hree broad factors” guide our inquiry: (1) “whether the change in

conduct resulted from substantial deliberation or is merely an attempt to

manipulate our jurisdiction”; (2) “whether the government’s decision to terminate

the challenged conduct was unambiguous,” including “whether the actions that

have been taken to allegedly moot the case reflect a rejection of the challenged

conduct that is both permanent and complete”; and (3) “whether the government

has consistently maintained its commitment to the new policy or legislative

scheme.” Flanigan’s Enters., 868 F.3d at 1257. These factors are neither exclusive


                                           32
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 38 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 33 of 65



nor dispositive; rather, the question is whether “the totality of [the] circumstances

persuades the court that there is no reasonable expectation that the government

entity will reenact the challenged legislation.” Id.

      The first factor does not help the Plaintiffs. The City repealed the ordinance

through its normal legislative process, rather than in “secrecy” or “behind closed

doors.” Id. at 1260. The Commission considered the repeal at a public meeting,

and the Plaintiffs do not provide any reason to believe that “the procedures used by

the City to repeal the Ordinance [do not] reflect the same level of deliberation we

would expect for any other change in policy.” Id. Moreover, the timing of the

repeal does not provide reason to “doubt the City’s sincerity.” Coral Springs, 371

F.3d at 1320. Notably, the City repealed the Ordinance after the district court had

granted final judgment in its favor in this case and before this Court had reversed

that judgment in FLFNB I. This factor weighs heavily against a conclusion that

the City will re-enact the Ordinance.

      So does the second factor. The City enforced the Ordinance only for a brief

period (about one month) after its October 22, 2014 enactment; the City did not

enforce the Ordinance between December 2, 2014 and its repeal on November 7,

2017. To be sure, this cessation of enforcement was not the result of an

independent change of heart; rather, on December 2, a state court stayed

enforcement in connection with a separate lawsuit challenging the Ordinance under


                                          33
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 39 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 34 of 65



Florida’s Religious Freedom Restoration Act. And the City has not unequivocally

assured that it will not re-enact the Ordinance. See Flanigan’s, 868 F.3d at 1262

(city council had passed a resolution disavowing any intent to re-enact the

challenged ordinance or anything similar). Still, all the Plaintiffs can offer on the

second factor are inferences drawn from the timing of the City’s enforcement

decisions in relation to litigation developments. And these inferences are hardly

ironclad: the City voluntarily continued its policy of non-enforcement even after

the expiration of the state-court stay on January 1, 2015.

      At first blush, the Plaintiffs do better on the third factor, for the Park Rule

still remains in effect and implicates the gravamen of Plaintiffs’ complaint by

preventing them from carrying out their expressive food sharing in a public park.

When “a superseding statute leaves objectionable features of the prior law

substantially undisturbed, the case is not moot.” Naturist Soc’y, Inc. v. Fillyaw,

958 F.2d 1515, 1520 (11th Cir. 1992); cf. Ne. Fla. Chapter of Associated Gen.

Contractors of Am. v. City of Jacksonville, 508 U.S. 656, 662 (1993) (The

enactment of a new statute similar to the one repealed saves a case from mootness

so long as the new statute implicates “the gravamen of [the original] complaint,”

even if the new statute “differs in certain respects from the old one” or

“disadvantage[s] [the plaintiffs] to a lesser degree than the old one.”). Even so, the

City stopped enforcing the Park Rule against FLFNB’s demonstrations at the same


                                          34
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 40 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 35 of 65



time it stopped enforcing the Ordinance (on December 2, 2014). In practice, the

City’s commitment to its repeal of the Ordinance and retreat from the policies

behind it has not wavered.

      To sum it all up, notwithstanding the City’s failure to repeal the Park Rule or

to unequivocally “disavow[] any intent to reenact” the Ordinance, Flanigan’s, 868

F.3d at 1263, the Ordinance’s regulation of outdoor food distribution is a thing of

the past. The Plaintiffs have not offered “concrete evidence” that the City might

re-enact the Ordinance. Nat’l Advert. Co., 402 F.3d at 1334. Their case depends

almost entirely on conjecture based on the timing of the City’s actions and its

commitment to a related rule. But the timing at best provides a weak reed to

establish an intent to re-enact and at worst undermines the Plaintiffs’ case: the City

repealed the Ordinance after the district court initially upheld it. This sequence

does not betray a strategic repeal to avoid adverse litigation developments. We

lack jurisdiction to address the difficult constitutional questions that attend the

Plaintiffs’ requests for declaratory and injunctive relief against the Ordinance.

These claims are moot.


                                           C.
      The third, and last, of the threshold issues concerns Article III standing. The

City argues that all of the Plaintiffs lack standing to assert damages claims based

on the Ordinance and the Park Rule because these regulations, by the City’s

                                           35
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 41 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 36 of 65



account, were not enforced against any of the Plaintiffs. According to the City, the

Plaintiffs cannot prove a concrete injury connected to the Ordinance or the Park

Rule. Like the district court before us, we remain unpersuaded. Both the

Individual Plaintiffs and FLFNB have standing to bring damages claims against the

City based on its enforcement of the Ordinance and the Park Rule. They also have

standing to bring claims for declaratory and injunctive relief against the Park Rule.

      It is by now almost axiomatic that in order to establish constitutional

standing, a party plaintiff must show three things:

      First, the plaintiff must have suffered an injury in fact -- an invasion of
      a legally protected interest which is (a) concrete and particularized and
      (b) actual or imminent, not conjectural or hypothetical. Second, there
      must be a causal connection between the injury and the conduct
      complained of -- the injury has to be fairly traceable to the challenged
      action of the defendant, and not the result of the independent action of
      some third party not before the court. Third, it must be likely, as
      opposed to merely speculative, that the injury will be redressed by a
      favorable decision.
Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992) (internal citations and

quotation marks omitted and alterations accepted); see also Bischoff v. Osceola

Cnty., 222 F.3d 874, 883 (11th Cir. 2000). Standing for injunctive relief requires

proof of a threat of future injury. Houston v. Marod Supermarkets, Inc., 733 F.3d

1323, 1329 (11th Cir. 2013). If there is a genuine issue of material fact as to

whether the Plaintiffs have standing, summary judgment against them on standing

grounds is inappropriate. See Bischoff, 222 F.3d at 884.


                                          36
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 42 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 37 of 65



      1. Individual Plaintiffs. The City applied the Ordinance and the Park Rule

to the Individual Plaintiffs insofar as they each participated in a November 7, 2014

FLFNB food-sharing event in Stranahan Park that the police broke up under their

authority drawn from the Ordinance and the Park Rule. Plaintiff Nathan Pim,

testifying on behalf of FLFNB, explained that the police “stopped” the event

“short.” [DE 49-1 at 41] We have already concluded that the Individual Plaintiffs

were engaging in constitutionally protected expression, and the City forced them to

stop and disperse. Undeniably, the Ordinance and the Park Rule injured them by

directly interfering with and barring their protected expression. “[E]very violation

[of a right] imports damage.” Uzuegbunam v. Preczewski, 141 S. Ct. 792, 796–97,

799 (2021) (citation omitted) (considering it beyond dispute that a college student

suffered an injury in fact when he complied with a college official’s order to stop

speaking and handing out religious literature on campus); cf. Roman Cath. Diocese

of Brooklyn v. Cuomo, 592 U.S. ----, 141 S. Ct. 63, 67–68 (2020) (per curiam

order granting application for injunctive relief) (those who wished to attend

religious services, an exercise of their First Amendment freedoms, would suffer

irreparable injury if barred from attending by state executive order); Elrod v.

Burns, 427 U.S. 347, 373 (1976) (“The loss of First Amendment freedoms, for

even minimal periods of time, unquestionably constitutes irreparable injury.”).




                                         37
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 43 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 38 of 65



      In this way, the Individual Plaintiffs sustained an injury in fact sufficient to

confer standing that does not depend on the arrests of their FLFNB colleagues at

the same demonstrations. What’s more, those arrests provide an additional basis

for standing, even though the Individual Plaintiffs were not personally arrested or

cited. “[S]tanding exists at the summary judgment stage when the plaintiff has

submitted evidence indicating ‘an intention to engage in a course of conduct

arguably affected with a constitutional interest, but proscribed by a statute, and

there exists a credible threat of prosecution.’” Bischoff, 222 F.3d at 884 (quoting

Wilson v. State Bar of Ga., 132 F.3d 1422, 1428 (11th Cir. 1998)); see also Susan

B. Anthony List v. Driehaus, 573 U.S. 149, 158–59 (2014).

      Each Individual Plaintiff has declared under penalty of perjury that he or she

will continue to participate in FLFNB’s protected food-sharing demonstrations in

Stranahan Park, and there is no dispute that this conduct is arguably proscribed by

the Park Rule (and was proscribed by the Ordinance when it was in effect). Of

course, the threat of prosecution must be “genuine,” not “imaginary” or

“speculative,” Leverett v. City of Pinellas Park, 775 F.2d 1536, 1538 (11th Cir.

1985), but the Individual Plaintiffs easily meet this requirement. Each directly

witnessed the police arrest and/or cite their co-demonstrators or others under the

Ordinance and the Park Rule. Citations issued to the Individual Plaintiffs’ fellow

demonstrators referenced both the Ordinance and the Park Rule. These arrests and


                                          38
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 44 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 39 of 65



citations of the Individual Plaintiffs’ “companion[s]” render the threat of

enforcement “non-chimerical.” Susan B. Anthony List, 573 U.S. at 159

(describing Steffel v. Thompson, 415 U.S. 452, 459 (1974)); cf. Bischoff, 222 F.3d

at 884–85 (plaintiffs who were threatened with arrest and whose co-demonstrators

were actually arrested suffered injury in fact).

      2. FLFNB. FLFNB does not claim that it has associational standing to sue

on behalf of its members; rather it claims “standing in its own right.” Havens

Realty Corp. v. Coleman, 455 U.S. 363, 378 (1982). An advocacy organization

like FLFNB suffers injury in fact when the defendant’s conduct “perceptibly

impair[s] [the organization’s] ability” to carry out its mission, including by causing

“drain on the organization’s resources.” Id. at 379; see also Fla. State Conf. of

N.A.A.C.P. v. Browning, 522 F.3d 1153, 1165 (11th Cir. 2008) (“[A] n

organization has standing to sue on its own behalf if the defendant’s illegal acts

impair its ability to engage in its projects by forcing the organization to divert

resources to counteract those illegal acts.”).

      It is undeniable, as the district court found, that the City’s enforcement of the

Ordinance and the Park Rule “impair[ed]” FLFNB’s “ability to engage in its

projects” -- food-sharing demonstrations to criticize society’s allocation of

resources between food and war -- in a number of ways. Most directly, the police

shut down an FLFNB food-sharing demonstration on November 7, 2014. This


                                           39
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 45 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 40 of 65



blocked FLFNB from holding its traditional post-meal organizational meeting in

Stranahan Park and cut short an exercise of its chief means of advocacy. See

Havens, 455 U.S. at 379 (plaintiff organization suffered injury where challenged

practices impaired its ability “to provide counseling and referral services for low-

and-moderate-income homeseekers”). Moreover, the challenged regulations

caused FLFNB to expend resources in the form of volunteer time, including efforts

to collect bail money and organize legal representation for its members who were

arrested under the Ordinance and the Park Rule. The threat of arrest also has

practically hindered would-be volunteers from participating in FLFNB

demonstrations. Thus, for example, FLFNB had to stop accepting high school

volunteers because it did not want to risk subjecting them to criminal liability.

These injuries will continue, because FLFNB continues to hold demonstrations

under the threat of Park Rule enforcement.

      FLFNB volunteers who would have normally worked on preparing for food-

sharing demonstrations had to divert their energies to advocacy activities such as

attending City meetings and organizing protests against the Ordinance, as well as

arranging for transportation and supplies for these events. FLFNB’s Rule 30(b)(6)

representative unambiguously testified that this “drew away time and resources

from free time we would be spending on preparing for . . . feedings.” See Fla.

State Conf. of N.A.A.C.P., 522 F.3d at 1165–66 (organization suffered injury in


                                          40
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 46 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 41 of 65



fact from anticipated diversion of “personnel and time to educating volunteers and

voters on compliance with” a challenged law). In the face of these injuries, the fact

that FLFNB has continued to hold food sharings in Stranahan Park since the

enactment of the Ordinance does not deprive it of standing.

      Nor, as the City suggests, does the fact that FLFNB is an informal

organization with no formative documents, formal leadership offices, or written

proof of membership. The City has not offered any authority to suggest that an

unincorporated association’s informal structure somehow renders it incapable of

sustaining actual and concrete injury. To the contrary, unincorporated associations

by their nature lack a charter and often lack formal organizational structures. See

S. Cal. Darts Ass’n v. Zaffina, 762 F.3d 921, 931 (9th Cir. 2014) (“[A]n

‘unincorporated association’ is a ‘voluntary group of persons, without a charter,

formed by mutual consent for the purpose of promoting a common objective.’”)

(citation omitted). This does not block them from seeking redress for injuries they

may sustain. See Thompson v. Metro. Multi-List, Inc., 934 F.2d 1566, 1571 (11th

Cir. 1991) (“Empire is an unincorporated association. As such, it has standing to

allege . . . injuries suffered directly by the organization.”). On this record as a

whole, FLFNB’s relaxed organizational style does not denude it of standing.




                                           41
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 47 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 42 of 65



                                         III.

                                          A.
      To take stock so far, the Plaintiffs have standing to bring the following

justiciable claims: for declaratory and injunctive relief against the Park Rule, and

for compensatory damages with respect to both the Ordinance and the Park Rule.

Our next step would normally be to examine the merits of the Plaintiffs’ arguments

that the Ordinance and the Park Rule are unconstitutional. But there is a twist here.

As we see it, we need not, and therefore do not, pass upon the validity of the

Ordinance. The Ordinance was repealed on November 7, 2017. And the validity,

vel non, of the Ordinance has no bearing on the Plaintiffs’ claims for past damages.

This is because the Plaintiffs’ damages claims with respect to the Ordinance -- the

only Ordinance claims left -- are coextensive with their damages claims arising out

of the enforcement of the Park Rule. The City enforced the Ordinance and the

Park Rule as one, so reviewing the constitutionality of the Park Rule is all we must

do in order to determine whether the Plaintiffs may be entitled to damages based

on the City’s enforcement actions. Because, as we will explain, the Park Rule

violates the First Amendment as applied to the Plaintiffs, a ruling on the Ordinance

provides no further benefit to the Plaintiffs. Deciding the constitutionality of the

repealed Ordinance would therefore be an unnecessary exercise of our authority to

interpret the Constitution. “Generally, we don’t answer constitutional questions


                                          42
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 48 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 43 of 65



that don’t need to be answered.” Burns v. Town of Palm Beach, 999 F.3d 1317,

1348 (11th Cir. 2021); see Lyng v. Nw. Indian Cemetery Protective Ass’n, 485

U.S. 439, 445 (1988) (“A fundamental and longstanding principle of judicial

restraint requires that courts avoid reaching constitutional questions in advance of

the necessity of deciding them.”).

      To explain, the core of the Plaintiffs’ theory of damages is that they were

forced to exercise their First Amendment rights under the fear of City sanction.

The Ordinance and the Park Rule operated together to inflict this fear, so reserving

judgment on the Ordinance will not affect the Plaintiffs’ pursuit of compensatory

damages. The Plaintiffs explain that they “fear future harassment, arrest and

prosecution for continuing to engage in their weekly demonstrations at Stranahan

Park.” They also complain of associated “impairment of reputation, emotional

distress, and loss of protected constitutional freedoms.” Thus, for example,

plaintiff William Toole declared that “[i]f the City resumes enforcement of the

Ordinance and Park Rule, as I anticipate it will, I and other members of [FLFNB]

will continue to face the possibility of receiving criminal citations for engaging in

political expression, citations carrying a potential penalty of a $500.00 fine, 60

days in jail, or a combination of the two.” As an organization, plaintiff FLFNB

suffered similar damages because “people who want to associate with [FLFNB] for




                                          43
        Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 49 of 70
         USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 44 of 65



purposes of engaging in [its] weekly political demonstrations do so by assuming a

risk of citation or arrest.”

       A violation of the Ordinance and a violation of the Park Rule each carry the

same penalty. The City could impose the specific penalties Toole and the other

plaintiffs fear -- a $500.00 fine and 60 days in jail -- either for a violation of the

Ordinance (when it was in effect) or for a violation of the Park Rule. Those

convicted of violating the Ordinance “shall . . . be punished as provided in Section

1-6 . . . of the Code.” § 47-34.2(C). Section 1-6 of the Code provides for a $500

fine or 60-day imprisonment punishment. City Code § 1-6(c).

       Meanwhile, Park Rule 2.2 prohibits social services in City parks without the

City’s permission. Section 11.0 of the Park Rules deals with enforcement.

Specifically, § 11.3, entitled “Trespass,” says that “[a]ny person or group found in

violation of [any Park Rule] shall be ordered to leave all [City parks] for a

minimum 24-hour period. Any person who fails to leave all City [parks] at the

time requested may be arrested and prosecuted for trespassing or prosecuted under

other existing ordinances.” This directs us to the “Trespassing” section of the City

Code, which incorporates the punishment found in City Code § 1-6, the same

penalty section incorporated into the Ordinance: “[v]iolators of this section shall be

deemed trespassers and subject to punishment as provided in section 1-6 of this

Code.” City Code § 16-26 (Trespassing). Just as it does for violations of the


                                           44
        Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 50 of 70
         USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 45 of 65



outdoor food distribution Ordinance, Section 1-6 provides for a fine up to $500 or

up to 60 days in jail for Park Rule violations. City Code § 1-6(c). This identity in

the available sanction makes sense, because the City enacted the Ordinance at least

in part in an effort to bring itself into compliance with the 2000 state-court

injunction against the Park Rule, “thereby permitting the resumption of

enforcement of the Park Rule.”

        To support their fears of enforcement, the Plaintiffs identify five instances

when the City arrested or cited fellow demonstrators in the Plaintiffs’ presence.

The arrest documents for four of these demonstrators cite both the Ordinance and

the Park Rule. Thus, the Park Rule was an important element in most of the arrests

that give rise to the Plaintiffs’ claimed damages, namely their fear of arrest and

prosecution for engaging in protected expression. Indeed, on November 7, 2014,

the same day as the initial arrests, the City’s Public Information Officer announced

that the City would not allow food sharing in Stranahan Park even pursuant to the

conditions of the Ordinance “because social services activities are not allowed to

be conducted in our parks per Rule 2.2 of the Parks and Recreation Rules and

Regulations.” The City’s policy of policing food sharing in Stranahan Park -- the

source of the Plaintiffs’ fear-based damages -- did not depend on the Ordinance. In

the City’s own words, it arose alternatively, and independently, from the Park

Rule.


                                           45
        Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 51 of 70
         USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 46 of 65



       It is true that the record does not indicate that the City ever brought any

formal prosecutions under the Park Rule. But the City ultimately dropped all but

one of the prosecutions it brought under the Ordinance (one individual pleaded no

contest and served ten hours of community service), so the absence of filed Park

Rule prosecutions does not drive a meaningful wedge between any damages the

Plaintiffs sustained from the enforcement of the Park Rule and any monetary

damages arising from the enforcement of the Ordinance.

       The Ordinance and the Park Rule operated in tandem and were enforced

together against FLFNB’s demonstrations. The Plaintiffs acknowledge as much in

their complaint: “[v]iolation of the Park Rule is a violation of the [O]rdinance

because both require written permission from the City to share food in a City

park.” The Plaintiffs’ alleged damages all stem from a single root: the City’s

enforcement of the Park Rule.2 Succeeding in their constitutional claim against the

Park Rule would allow the Plaintiffs to proceed in their quest for damages based

on this enforcement. Succeeding in their constitutional claim against the



2
  Some of the Plaintiffs’ filings also might be read to claim damages that do not relate to fears of
arrest, but rather to costs incurred in protesting the enactment of the Ordinance. Even these
alleged damages stem from the enforcement of the Park Rule. The materials for one of the City
meetings FLFNB attended in protest explained that the City wished to pass the Ordinance so that
it could resume enforcement of the Park Rule. So FLFNB allegedly expended resources to fight
the Park Rule just as much as it did to fight the Ordinance. Of course, nothing in this opinion
should be taken to suggest that the Plaintiffs will ultimately be able to prove compensatory
damages or even the required causation. We observe only that the damages, as alleged, stem as
much from the Park Rule as they do from the Ordinance.

                                                46
        Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 52 of 70
         USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 47 of 65



Ordinance would not entitle them to anything more because their Ordinance-based

damages theories invoke the same set of harms. Cf. Patterson v. Balsamico, 440

F.3d 104, 113–14 (2d Cir. 2006) (nominal damages award was “contingent on the

injuries suffered by [the plaintiff] rather than the number of statutes under which

[the defendant was] liable”).

       And as we shall see, it is not especially difficult to conclude that the Park

Rule cannot pass First Amendment muster as applied to these Plaintiffs. 3 The

Ordinance, however, presents a closer and more difficult question. On the one

hand, it presents serious constitutional issues arising out of its arduous permitting

process and a fee that can rise as high as $6,000 subject to City officials’ unfettered

discretion. And, at least arguably, the Ordinance effectively bans the Plaintiffs’

expression in all City parks; the City did not take advantage of narrower potential

alternatives such as allowing demonstrations in particular parks or permitting

organizations to hold a limited number of annual food-sharing events as of right.

See First Vagabonds Church of God, 638 F.3d at 758 (upholding similar Orlando

ordinance with these features). On the other hand, the City has a substantial


3
  The Plaintiffs also purport to bring a facial challenge to the Park Rule. But they have not
shown that the Park Rule prohibits a substantial amount of protected conduct, especially since
most of the social service park uses the Park Rule regulates will have no expressive component
at all. See Doe v. Valencia Coll., 903 F.3d 1220, 1232 (11th Cir. 2018). Therefore, we follow
FLFNB I and treat the Plaintiffs’ challenge only as an as-applied one. See 901 F.3d at 1241
(“Whether food distribution or sharing can be expressive activity protected by the First
Amendment under particular circumstances is a question to be decided in an as-applied
challenge.”) (citation omitted and alterations accepted).
                                              47
        Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 53 of 70
         USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 48 of 65



interest in managing its park property, see id. at 761, and the Ordinance (unlike the

Park Rule) provides clear and objective standards to guide the City’s permitting

decisions, such as the requirement that each food sharing use must be at least 500

feet away from any other.

       The resolution of these issues does not matter here. The Ordinance has been

repealed, and its validity does not bear on the Plaintiffs’ quest for damages. Since

the repeal of the Ordinance renders its validity a wholly academic question, in

keeping with the judicial restraint principals of constitutional avoidance, we do not

answer it. 4 See Lyng, 485 U.S. at 446 (lower courts should have answered a

constitutional question only if “a decision on that question could have entitled [the

plaintiffs] to relief beyond that to which they were entitled on their statutory

claims”); Ashwander v. Tenn. Valley Auth., 297 U.S. 288, 347 (1936) (courts “will

not pass upon a constitutional question although properly presented by the record,

if there is also present some other ground upon which the case may be disposed

of”); Boss Cap., Inc. v. City of Casselberry, 187 F.3d 1251, 1254 (11th Cir. 1999)

(“[I]t is our custom not to decide difficult constitutional questions unless we

must.”), abrogated on other grounds by City of Littleton v. Z.J. Gifts D-4, L.L.C.,

541 U.S. 774 (2004).



4
 For similar reasons, we do not reach the Plaintiffs’ alternative theories for why the Park Rule is
unconstitutional, namely their expressive association, vagueness, and prior restraint theories.
                                                48
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 54 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 49 of 65



                                         B.

      Finally, we come to the merits of the Plaintiffs’ as-applied challenge to the

Park Rule. Our review of the district court’s summary judgment holding that the

Park Rule was constitutional is de novo. FLFNB I, 901 F.3d at 1239. We draw all

reasonable inferences in the light most favorable to the Plaintiffs, the non-moving

parties. Id.

      But first, we pause to clarify what is not up for debate in this appeal. In

FLFNB I, a panel of this Court held that FLFNB’s food-sharing demonstrations in

Stranahan Park are expressive conduct protected by the First Amendment. Id. at

1245. This holding binds us under both the law of the case doctrine, see Rath v.

Marcoski, 898 F.3d 1306, 1312 (11th Cir. 2018), and our Court’s prior precedent

rule, Andrews v. Biggers, 996 F.3d 1235, 1236 (11th Cir. 2021). The sole

remaining question for us, then, is whether the Park Rule’s regulation of this

protected conduct passes First Amendment scrutiny.

      To answer this question, we must first decide whether the Park Rule is

content neutral or content based, for a content-neutral regulation of expressive

conduct is subject to intermediate scrutiny, while a regulation based on the content

of the expression must withstand the additional rigors of strict scrutiny. See Texas

v. Johnson, 491 U.S. 397, 403–04 (1989); Burk v. Augusta-Richmond Cnty., 365

F.3d 1247, 1255 (11th Cir. 2004). As we explain, the Park Rule is content neutral.


                                         49
          Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 55 of 70
           USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 50 of 65



So, we only apply intermediate scrutiny. Specifically, we apply the United States

v. O’Brien, 391 U.S. 367 (1968), test for content-neutral regulations of expressive

conduct and ask whether the Park Rule “is narrowly drawn to further a substantial

governmental interest . . . unrelated to the suppression of free speech.” Clark v.

Cmty. for Creative Non-Violence, 468 U.S. 288, 294 (1984) (citing O’Brien, 391

U.S. at 377).

      Alternatively, we evaluate the Park Rule as a time, place, and manner

restriction on expressive conduct. This sort of law also must be “narrowly tailored

to serve a significant governmental interest” and “leave open ample alternative

channels for communication of the information.” Clark, 468 U.S. at 293. These

standards substantially overlap and yield the same result in this case. Either way,

the Park Rule violates the First Amendment as applied to the Plaintiffs’ food-

sharing events.

      1. Content Neutrality. Johnson instructs us that a regulation of expressive

conduct is content neutral if the justification for the regulation is unrelated to the

suppression of free expression. 491 U.S. at 403. Even a content-neutral purpose,

however, cannot save a regulation that “‘on its face’ draws distinctions based on

the message a speaker conveys.” Reed v. Town of Gilbert, 576 U.S. 155, 163–64

(2015).

      The Park Rule does not draw content-based distinctions on its face:


                                           50
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 56 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 51 of 65



      Parks shall be used for recreation and relaxation, ornament, light and
      air for the general public. Parks shall not be used for business or social
      service purposes unless authorized pursuant to a written agreement with
      City. As used herein, social services shall include, but not be limited
      to, the provision of food, clothing, shelter or medical care to persons in
      order to meet their physical needs.

The Rule applies not just to food sharing events but also to a host of other social

services, including the provision of clothing, shelter, and medical care. These

services usually do not involve expressive conduct. Even most social-service food

sharing events will not be expressive. See FLFNB I, 901 F.3d at 1242 (holding

that FLFNB’s food sharing was protected expressive conduct only after a close

examination of the specific context surrounding the events). That the Park Rule

regulates a range of activity, most of which has no expressive content at all,

suggests its application does not vary based on any message conveyed. The Rule

does not single out messages which relate to food or the importance of sharing

food with the homeless.

      Instead, the Park Rule’s application to food sharing (and other services)

turns on whether the services are provided “in order to meet [the recipients’]

physical needs.” This distinction does not depend on the content of the message

associated with any food sharing that happens to be expressive. The Park Rule (at

least in the City’s view) applies to FLFNB’s sharing of low-cost food with the

homeless in order to communicate a message about the societal allocation of

resources between food and the military, but it would also apply to an organization

                                          51
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 57 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 52 of 65



that shared low-cost food with the homeless in order to communicate that the

City’s homeless shelters serve food that lacks vital nutrients. It would likewise

apply to an organization that shared low-cost food with struggling veterans in order

to emphasize the debt our society owes for their sacrifice, and so on. Indeed, it

would apply to organizations that share food with those in need to communicate

any number of messages. Simply put, the Rule does not “draw[] distinctions based

on [any] message” food-sharers convey. Reed, 576 U.S. at 163.

      The Plaintiffs rely on Reed’s allusion to the possibility that some facial

distinctions might be content based because they define “regulated speech by its

function or purpose” to argue that the Park Rule’s social-service-purpose

distinction is content based. Id. at 163–64. But we have characterized this

language in Reed as “dicta.” Harbourside Place, LLC v. Town of Jupiter, 958 F.3d

1308, 1319 (11th Cir. 2020). In any event, as just described, the purpose on which

the regulatory definition turns -- sharing food to provide for physical welfare -- is

not one that draws a distinction based on the content of any expression. See

Recycle for Change v. City of Oakland, 856 F.3d 666, 671 (9th Cir. 2017)

(holding, after Reed, that a regulation that applied to unattended donation boxes

that collected personal items “for the purpose of distributing, reusing, or recycling

those items” did not turn on “communicative content”); Josephine Havlak

Photographer, Inc. v. Vill. of Twin Oaks, 864 F.3d 905, 915 (8th Cir. 2017)


                                          52
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 58 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 53 of 65



(regulation that applied to photography for commercial purposes, but not non-

commercial purposes, was not content based under Reed). To be sure, it seems

likely that most expressive food sharings subject to the Park Rule’s regulation will

involve some sort of message related to the importance of sharing food with those

in need. “But a facially neutral law does not become content based simply because

it may disproportionately affect speech on certain topics.” McCullen v. Coakley,

573 U.S. 464, 480 (2014).

      Likewise, the City’s justifications for the Park Rule do not relate to content.

“A regulation that serves purposes unrelated to the content of expression is deemed

[content] neutral, even if it has an incidental effect on some speakers or messages

but not others.” Ward v. Rock Against Racism, 491 U.S. 781, 791 (1989). The

City enacted the Park Rule, and the Ordinance designed to facilitate its

enforcement, in order to address a series of problems associated with large group

food events in public parks, including loitering and crowds, trash build-up, noise,

and food safety issues, as well as to ensure that similar uses of public property did

not concentrate in one area. Citizens had complained about some of these

problems in connection with food-sharing events. In January 2014, the City

Commission held a workshop on homelessness in the community where

stakeholders debated public food distribution and related topics. More generally,

the Ordinance states that its purpose is “to regulate social service facilities in order


                                           53
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 59 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 54 of 65



to promote the health, safety, morals and general welfare of the residents of the

City of Fort Lauderdale.” (This statement illuminates the Park Rule’s purpose as

well, since the City enacted the Ordinance so that it could resume enforcement of

the Park Rule.)

      These concerns, which boil down to an interest in maintaining public parks

and other property in a pleasant, accessible condition, are not related to the

suppression of the Plaintiffs’ (or any other party’s) expression, so they are content

neutral. See First Vagabonds Church of God, 638 F.3d at 762 (“[T]he interest of

the City in managing parks and spreading large group feedings to a larger number

of [locations] is unrelated to the suppression of speech.”); see also McCullen, 573

U.S. at 480–81 (public safety, the need to protect security, and regulation of

congestion are content-neutral concerns); Ward, 491 U.S. at 797 (“The city enjoys

a substantial interest in ensuring the ability of its citizens to enjoy whatever

benefits the city parks have to offer, from amplified music to silent meditation.”).

      One could phrase the City’s motives in terms that are perhaps less flattering.

The district court said the City was concerned “that food sharing as a social service

attracts people who act in ways inimical to” keeping parks safe, clean and

enjoyable; the Plaintiffs put a finer point on it and accuse the city of “deter[ring]

homeless and hungry people from parks because of how they might act.” Fort

Lauderdale’s elected officials seem to have decided that sharing food with large


                                           54
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 60 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 55 of 65



groups of homeless people in public parks causes problems that make those parks

less useful to the broader public. But even accepting these descriptions does not

alter the First Amendment analysis, which at this stage asks only whether the

City’s desire to prevent groups of homeless people from gathering in public parks

is a goal related to the content of the Plaintiffs’ or any other party’s expression.

The First Amendment does not permit us to go further and comment upon whether

this objective is virtuous public policy. We hold simply that the Park Rule is not

related to expressive conduct; it has nothing to do with the Plaintiffs’ critique of

society’s allocation of scarce resources between welfare and defense spending.

      The Plaintiffs are wrong to say that the City’s concern with the behavior of

the crowds that gather at FLFNB expressive food-sharing events is a justification

related to “[l]isteners’ reaction to speech,” which they correctly point out would

not be “a content-neutral basis for regulation.” Forsyth Cnty. v. Nationalist

Movement, 505 U.S. 123, 134 (1992). Forsyth and related cases stand for the

principle that a city may not regulate speech because it “cause[s] offense or

ma[kes] listeners uncomfortable,” McCullen, 573 U.S. at 481, or because it might

elicit a violent reaction or difficult-to-manage counterprotests, Forsyth Cnty., 505

U.S. at 134. The City is concerned not that FLFNB’s expression will offend or

cause violence, but that it will cause the gathering of crowds -- participants in the

meals, rather than a bystander audience -- and associated logistical problems such


                                           55
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 61 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 56 of 65



as the accumulation of trash. Addressing the practical problems crowds pose is a

content-neutral concern. See McCullen, 573 U.S. at 481 (“Whether or not a single

person reacts to abortion protestors’ chants or petitioners’ counseling, large crowds

outside abortion clinics can still compromise public safety, impede access, and

obstruct sidewalks.”); cf. Coal. for the Abolition of Marijuana Prohibition v. City

of Atlanta, 219 F.3d 1301, 1317–18 (11th Cir. 2000) (a regulation that

distinguished between events based on whether they would require municipal

services to “accommodate . . . large public gatherings” was “justified without

reference to the content of the regulated speech”) (emphasis omitted).

      2. Intermediate Scrutiny. Since the Park Rule is a content-neutral regulation

of expressive conduct, it is subject only to intermediate scrutiny, not the more

demanding requirements of strict scrutiny. Specifically, under United States v.

O’Brien, the Park Rule may regulate the Plaintiffs’ expressive food sharing only so

long as food sharing “itself may constitutionally be regulated” (no one has

suggested it may not) and the Park Rule “is narrowly drawn to further a substantial

governmental interest” that is “is unrelated to the suppression of free speech.”

Clark, 468 U.S. at 294 (1984) (citing O’Brien, 391 U.S. 367, 377 (1968)).

      The City does have a “substantial interest in ensuring the ability of [its]

citizens to enjoy whatever benefits the city parks have to offer.” Ward, 491 U.S. at

797. More specifically, the Park Rule seeks to further the City’s “substantial


                                          56
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 62 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 57 of 65



interest in managing park property and spreading the burden of large group

feedings throughout a greater area.” First Vagabonds Church of God, 638 F.3d at

762. As we have explained, the regulations are concerned with avoiding

concentration of similar park uses and with sanitation and other logistical problems

that crowded food distribution events cause -- substantial government interests that

are unrelated to the suppression of free speech.

      However, the Park Rule is not narrowly tailored to the City’s interest in park

maintenance. Under intermediate scrutiny, the regulation “‘need not be the least

restrictive or least inclusive means’ of serving the government’s interests.”

McCullen, 573 U.S. at 486 (citation omitted). Rather, “the requirement of narrow

tailoring is satisfied ‘so long as the regulation promotes a substantial governmental

interest that would be achieved less effectively absent the regulation,’” and “the

means chosen are not substantially broader than necessary to achieve the

government’s interest.” Ward, 491 U.S. at 799–800 (citation omitted and

alterations accepted).

      Fatally, the Park Rule imposes a permitting requirement without

implementing any standards to guide City officials’ discretion over whether to

grant a permit. The Rule bans social-service food sharings in City Parks “unless

authorized pursuant to a written agreement with City.” That’s it. Under the terms

of the Rule, a City official may deny a request for permission to hold an expressive


                                         57
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 63 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 58 of 65



food sharing event in the Park because he disagrees with the demonstration’s

message, because he doesn’t feel like completing the necessary paperwork,

because he has a practice of rejecting all applications submitted on Tuesdays, or

for no reason at all. In a word, the complete lack of any standards allows for

arbitrary enforcement and even for discrimination based on viewpoint.

      Generally, subjecting protected expression to an official’s “unbridled

discretion” presents “too great” a “danger of censorship and of abridgment of our

precious First Amendment freedoms.” Se. Promotions, Ltd. v. Conrad, 420 U.S.

546, 553 (1975). “[D]istaste for [such] censorship -- reflecting the natural distaste

of a free people -- is deep-written in our law.” Id. It comes as no surprise, then,

that “a long line” of Supreme Court decisions makes it abundantly clear that a

regulation which “makes the peaceful enjoyment of freedoms which the

Constitution guarantees contingent upon the uncontrolled will of an official -- as

by requiring a permit or license which may be granted or withheld in the discretion

of such official -- is an unconstitutional censorship or prior restraint upon the

enjoyment of those freedoms.” Shuttlesworth v. City of Birmingham, 394 U.S.

147, 151 (1969) (quoting Staub v. City of Baxley, 355 U.S. 313, 322 (1958)).

      The facts of Shuttlesworth illustrate the point. A Birmingham, Alabama

ordinance empowered the city commission to deny parade permits whenever they

thought it necessary for “public welfare,” “decency,” “morals, or “convenience.”


                                          58
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 64 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 59 of 65



Id. at 148–50. In 1963, city officials used this ordinance to arrest and prosecute

participants in a peaceful civil rights march held without a license, including Rev.

Fred Shuttlesworth. Id. But the Supreme Court invalidated Shuttlesworth’s

conviction. Id. at 159. The risk that the ambiguity in the licensing regime would

permit officials to target individuals, like Shuttlesworth, on the basis of their

disfavored expression was too great for the First Amendment to bear.

      The reasoning of these prior restraint cases controls the as-applied narrow

tailoring inquiry we conduct in this case: “[e]xcessive discretion over permitting

decisions is constitutionally suspect because it creates the opportunity for

undetectable censorship and signals a lack of narrow tailoring.” Burk, 365 F.3d at

1256. The Park rule does not even supply malleable standards like those found in

Shuttlesworth; it doesn’t provide any standards at all. As applied to the Plaintiffs’

protected expression, the Park Rule fails First Amendment scrutiny.

      Moreover, the Park Rule’s sweeping grant of discretion to City permitting

officials is not necessary to further the City’s interests in crowd control and park

conservation. The government “may not regulate expression in such a manner that

a substantial portion of the burden on speech does not serve to advance its goals.”

McCullen, 573 U.S. at 486 (citations omitted). Of course, the mere availability of

less restrictive alternatives will not cause a regulation to fail narrow tailoring

scrutiny, and we may not “replace the City as the manager of its parks.” First


                                           59
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 65 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 60 of 65



Vagabonds Church of God, 638 F.3d at 762 (citation omitted and alterations

accepted). But an abundance of targeted alternatives may indicate that a regulation

is broader than necessary. See McCullen, 573 U.S. at 490–94 (relying in part on

available alternatives to conclude that a regulation of speech near abortion clinics

burdened more speech than necessary).

      The Park Rule amounts to an outright ban on public food sharing in all of

Fort Lauderdale’s parks; any exception is subject only to the standardless whims of

City permitting officials. For a model of a narrower regulation targeting more or

less the same interests, the City need only have looked 218 miles to the northwest.

In First Vagabonds Church of God, we upheld an Orlando regulation that permitted

public food distribution without a license in sixty-six parks. 638 F.3d at 761. For

the group of forty-two parks in the central downtown district near City Hall, each

organization was entitled to two licenses per year. Id. And the Orlando ordinance

applied only to events likely to attract twenty-five or more people. Id. at 759.

      Fort Lauderdale offers no reason it could not have similarly narrowed the

Park Rule’s permission requirement or tailored it in some other way. Thus, for

example, in addition to adding “narrowly drawn, reasonable and definite

standards” to guide officials’ permitting discretion, Forsyth Cnty., 505 U.S. at 133

(citation omitted), the City could have required permission only for events likely to

attract groups exceeding a certain size. Or it could have required City permission


                                         60
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 66 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 61 of 65



only for certain parks. Central to the City’s conclusion that public food

distribution causes problems in parks is a collection of seven citizen and

organizational complaints about food-sharing events. Six of these are specific to

the downtown Fort Lauderdale area. The City could have required permission only

in downtown parks or designated limited areas within parks for sharing food. See

McCullen, 573 U.S. at 493 (evidence of disruptive demonstrations at a single

Boston clinic did not justify a statewide regulation of demonstrations at abortion

clinics); see Clark, 468 U.S. at 295 (rejecting challenge to a limited ban on

camping in Washington, D.C.’s Lafayette Park as applied to an anti-homelessness

demonstration; the Park Service allowed camping in designated areas in other

parks); Smith v. City of Fort Lauderdale, 177 F.3d 954, 956–57 (11th Cir. 1999)

(upholding ban on begging that applied only to a five-mile “designated, limited

beach area” and did not ban begging in “many other public fora”). The City also

might have allowed groups like FLFNB a limited annual number of food

distribution events in Stranahan Park as of right. Again, we do not presume to tell

the City exactly how it should manage its parks; all this is only to say that the Park

Rule’s utterly standardless permission requirement is “substantially broader than

necessary to achieve” the City’s interest in maintaining its parks. Ward, 491 U.S.

at 782–83. The Park Rule therefore cannot qualify as a valid regulation of the

Plaintiffs’ expressive conduct.


                                          61
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 67 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 62 of 65



      Alternatively, we evaluate the Park Rule under Clark’s standard for time

place, and manner restrictions. A content-neutral law regulating the time, place,

and manner of expression in a public forum must be “narrowly tailored to serve a

significant governmental interest” and “leave open ample alternative channels for

communication of the information.” Clark, 468 U.S. at 293. Stranahan Park is “an

undisputed public forum.” FLFNB I, 901 F.3d at 1238. We underscore that parks

“occupy a special position in terms of First Amendment protection because of their

historic role as sites for discussion and debate.” McCullen, 573 U.S. at 476

(quotation omitted); United States v. Grace, 461 U.S. 171, 177 (1983) (Public

parks are “historically associated with the free exercise of expressive activities.”);

Hague, 307 U.S. at 515 (opinion of Roberts, J.) (“Wherever the title of streets and

parks may rest, they have immemorially been held in trust for the use of the public

and, time out of mind, have been used for purposes of assembly, communicating

thoughts between citizens, and discussing public questions. Such use of the streets

and public places has, from ancient times, been a part of the privileges, immunities,

rights, and liberties of citizens.”). “[T]he government’s ability to permissibly

restrict expressive conduct” in Stranahan Park is therefore “very limited.” Grace,

461 U.S. at 177. But the government nevertheless “may enforce reasonable time,

place, and manner regulations” on expression in the park. See id.




                                          62
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 68 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 63 of 65



      As a practical matter, there is little difference between this standard and the

O’Brien test we have just discussed, and, in any event, they yield the same result in

this case. Clark, 468 U.S. at 298 (observing that the O’Brien standard “is little, if

any, different from the standard applied to time, place, or manner restrictions”); see

First Vagabonds Church of God, 638 F.3d at 761–62 (analyzing a similar

ordinance under both standards). Both require that the regulation be narrowly

tailored to serve a significant government interest. Clark, 468 U.S. at 293, 298.

Just as it does under O’Brien, the Park Rule’s grant of standardless discretion to

the City’s permitting officials causes it to fail time, place, and manner scrutiny:

“[a] government regulation that allows arbitrary application is ‘inherently

inconsistent with a valid time, place, and manner regulation because such

discretion has the potential for becoming a means of suppressing a particular point

of view.’” Forsyth Cnty., 505 U.S. at 130–31 (quoting Heffron v. Int’l Soc’y for

Krishna Consciousness, Inc., 452 U.S. 640, 649 (1981)); Burk, 365 F.3d at 1256

(“[T]ime, place, and manner regulations must contain narrowly drawn, reasonable

and definite standards, to guide the official’s decision and render it subject to

effective judicial review.”) (internal quotation marks and citations omitted). Since

the Park Rule fails because it is not narrowly tailored, we need not address whether

it leaves open ample alternative channels for the communication of the Plaintiffs’

message.


                                          63
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 69 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 64 of 65



      The long and short of it is that the Park Rule as applied to the Plaintiffs’

expressive food sharing activities violates the First Amendment. Accordingly, we

REVERSE the district court’s summary judgment order and REMAND for

further proceedings consistent with this opinion.

                        REVERSED AND REMANDED.




                                          64
       Case 1:21-cv-01229-JPB Document 80 Filed 09/16/21 Page 70 of 70
        USCA11 Case: 19-13604 Date Filed: 08/31/2021 Page: 65 of 65



HULL, Circuit Judge, with whom LAGOA, Circuit Judge, joins, concurring:

      I concur in full in the panel opinion. I write separately to emphasize that this

is the second appeal in this case and that our panel is bound by this Court’s holding

as to whether the plaintiff FLFNB’s food-sharing conduct is sufficiently expressive

to warrant First Amendment protection. See Fort Lauderdale Food Not Bombs v.

City of Fort Lauderdale, 901 F.3d 1235 (11th Cir. 2018).

      In that prior appeal, this Court held that, “on this record,” the nature of the

plaintiff FLFNB’s weekly food-sharing activity in a public park, “combined with

the factual context and environment in which it was undertaken,” led to the

conclusion that FLFNB’s food sharing conduct “express[es] an idea through [that]

activity,” conveys “some sort of message” to a reasonable observer, and constitutes

“a form of protected expression” under the First Amendment. Id. at 1240–45

(quotation marks omitted). This holding relied on a well-developed factual record

about the plaintiff FLFNB’s many years of food-sharing events (1) that are held in

the City’s Stranahan Park, a public forum where the homeless congregate, and

(2) that are accompanied by FLFNB’s banners and distribution of literature. Id.

As the panel opinion points out, “most social-service food sharing events will not

be expressive.” Maj. Op. at 51. Here, however, we are bound by the holding in

the prior appeal that was based on a particular and extensive list of factual

circumstances.


                                          65
